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IN THE UNITED sTATEs DISTRICT coURT H'ED ‘3*’ ,3_¢
FoR THE wEsTERN DISTRICT op TENNESSEE U¢_~!__; y

wEsTERN DIvIsloN `) ”3” 17 PH L: 155

CHARLENE SPINKS,

 

Plaintiff,
v. 03 CV 2568 D/P

HOME TECH SERVICES CO., INC.,
et al.,

Defendants.

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BOBBIE J. CARR,
Plaintiff,

03 cv 2569 D/P \/%

v.

HOME TECH SERVICES CO., INC.,
et al.,

Defendants.

 

ORDER GRANTING PLAINTIFFS’ MOTION FOR EXTENSION OF TIME TO
RESPOND TO REQUESTS FOR ADMISSIONS AND GRANTING IN PART
NOVASTAR'S COUNTER-MOTION TO DETERMINE THE SUFFICIENCY OF ANSWERS
AND OBJECTIONS

 

Before the court are plaintiffs Charlene Spinks and Bobbie
Carr's motions for extension cmi time to respond. to defendant
NovaStar's First Set of Request for Admissions, filed March 7,
2005. On April 8, 2005, NovaStar filed its response to these
motions, and included in its response a counter-motion to determine

the sufficiency of plaintiffs' answers and objections. On May ll,

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2005, the court held a hearing on these motions. Counsel for all
interested parties were present and heard. For the reasons stated
in open court, and as set forth below, the plaintiffs’ motion for
extension of time is GRANTED, and NovaStar's counter-motion is
GRANTED in part.
I . BACKGROU`ND

NovaStar's First Set of Requests for Admission was delivered
to the plaintiffs on or about December 28, 2004. Generally, the
requests for admission ask plaintiffs to admit that they do not
know of any facts or evidence supporting the allegations in their
complaints. During this time period, plaintiffs' counsel's law
office was in the process of being renovated, and although someone
at the office received the package, none of the attorneys involved
in this litigation were aware of the requests. It was not until
sometime in the middle of February 2005 - approximately two weeks
after the responses were due - that NovaStar's counsel contacted
plaintiffs' counsel to inquire about the requests for admission and
to inform them that the responses were past due. It was at that
time that plaintiffs’ counsel discovered the requests in their
office. Plaintiffs subsequently submitted their responses on March
7, 2005, and contemporaneously filed the present motion asking that
plaintiffs be allowed to withdraw their prior admissions.

II . ANALYSIS
Under Federal Rule of Civil Procedure 36(a), a “matter is

admitted unless, within 30 days after service of the request,

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the party to whom the request is directed serves” a written
answer or objection upon the requesting party. Pursuant to Rule
36(b), “any matter admitted . . . is conclusively established
unless the court on motion permits withdrawal or amendment of the
admission.” Fed. R. Civ. P. 36(b). The Rule further explains that
the court may permit withdrawal or amendment “when the presentation
of the merits will be subserved thereby and the party who obtained
the admission fails to satisfy the court that withdrawal or
amendment will prejudice that party in maintaining the action or
defense on the merits.” ldgi see also Kerry Steel, Inc. v. Paragon
Indus.l Inc., 106 F.Bd 147, 154 (6th Cir. 1997); Dynasty Apparel
Indus. v. Rentz, 206 F.R.D. 596, 601-02 (S.D. Ohio 2001); Herrin v.
Blackman, 89 F.R.D. 622, 624 (W.D. Tenn. 1981). The prejudice that
the party who obtained the admission must show “relates to special
difficulties a party may face caused by a sudden need to obtain
evidence upon withdrawal or amendment of an admission.” American
Auto Ass’n v. AAA Leqal Clinic of Jefferson Crooke, P.C., 930 F.Zd
1117, 1120 (_"'>th Cir. 1991).

Under the first prong of the test regarding the benefit to the
presentation of the case, if this court allowed the defaulted
admissions to stand, the plaintiffs will have admitted that they do
not know of any facts or evidence that support any of their
allegations in this case. The first prong is satisfied when the
admissions would “practically eliminate” the presentation of the

contested issue by the parties. See Lovejoy v. Owens, No. 94-4224,

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1996 wL 237261, at *2 (eth Cir. May 28, 1996). This prong,
therefore, is satisfied.

The second prong is only satisfied, however, if NovaStar can
show that it would suffer prejudice in the event the court allowed
the plaintiffs to amend or withdraw the admissions. Nothing in the
record before the court demonstrates that NovaStar would be
prejudiced by withdrawal of the admissions, especially in light of
the fact that NovaStar's counsel was informed. by' plaintiffs’
counsel within two weeks after the responses were due that they
were not aware that the requests had been sent to them. Because
the second prong is not satisfied, the court GRANTS plaintiffs'
motion.

At the May ll hearing, the court found that several of the
plaintiffs' responses were incomplete and that certain objections
were not warranted. Plaintiffs asked that they be given additional
time to supplement their responses. NovaStar did not oppose this
request. For these reasons, NovaStar's counter-motion is GRANTED
in part. Plaintiffs are ordered to supplement their responses to
NovaStar's First Set of Requests for Admission by May 31, 2005.

IT IS SO ORDERED.

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TU M. PHAP
United States Magistrate Judge

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Date (dunc'pro tunc)

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 341 in
case 2:03-CV-02569 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

